Case 2:05-cV-02109-.]P|\/|-de Document 30 Filed 08/22/05 Page 1 of 4 Page|D 38

 

UNITED sTATEs DISTRICT COURT Fru:n By .
FoR THE WESTERN DISTRICT oF TENNESSEE "`" D'C'
MoRGAN & THORNBURG, lNc., mg;!,q,;g M 901 ,m
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Plaimiff, W¢’D O-‘~ mm

VS.

M. A. MORTENSON COMPANY,
FEDERAL JNSURANCE COMPANY, and

AMER_ICAN HOME ASSURANCE COMPANY,

Defendants,
vs.
THE NEW MEMPHIS ARENA
PUBLIC BUILDING AUTHORITY OF
MEMPHIS AND SHELBY COUNTY,

lntervenor Defendant.

Civil Action No.: 05-2109 Ml/An

 

ORDER GRANTING
MOTION FOR SUBSTITUTION OF COUNSEL

 

IT APPEARS TO THE COURT that the parties hereto consent and stipulate that Fred E.

Jones, Jr. may substitute in as counsel for the New Memphis Public Building Authority ofMemphiS

and Shelby County in place of current counsel of record, Robert L. J. Spence, Jr.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that F red E. Jones, Jr.

be substituted in as counsel or record for The New Memphis Public Building Authority of Memphis

and Shelby County in place of Robert L. J. Spence, Jr.

Thls document entered on the docket sheet in compliance
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with Flule 58 and/cr 79(a) FHCP on _.J

Case 2:05-cV-02109-.]P|\/|-de Document 30 Filed 08/22/05 Page 2 of 4 Page|D 39

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DATE /

 

 

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OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CV-02109 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

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Case 2:05-cV-02109-.]P|\/|-de Document 30

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Honorable J on McCalla
US DISTRICT COURT

Filed 08/22/05 Page 4 of 4 Page|D 41

